Case 2:19-cv-05030-JDW Document 126-21 Filed 04/20/21 Page 1 of 6




               EXHIBIT X
Case 2:19-cv-05030-JDW Document 126-21 Filed 04/20/21 Page 2 of 6




                LB Supplemental Production 00211
Case 2:19-cv-05030-JDW Document 126-21 Filed 04/20/21 Page 3 of 6




                LB Supplemental Production 00212
Case 2:19-cv-05030-JDW Document 126-21 Filed 04/20/21 Page 4 of 6




                LB Supplemental Production 00213
Case 2:19-cv-05030-JDW Document 126-21 Filed 04/20/21 Page 5 of 6




                LB Supplemental Production 00214
Case 2:19-cv-05030-JDW Document 126-21 Filed 04/20/21 Page 6 of 6




                LB Supplemental Production 00215
